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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  JUDGE NINA Y. WANG


Civil Action: 22-cv-01129-NYW-SBP                           Date: June 13, 2025
Courtroom Deputy: Emily Buchanan                            Court Reporters: Darlene Martinez

                Parties                                                 Counsel

 ERIC COOMER, Ph.D.,                                       Ashley Morgan
                                                           Bradley Kloewer
                                                           Charles Cain
                                                           David Beller
        Plaintiff,

 v.

 MICHAEL J. LINDELL,                                        Christopher Kachouroff
 FRANKSPEECH LLC, and                                       Jennifer DeMaster
 MY PILLOW, INC.,                                           James Duane

        Defendants.


                                   COURTROOM MINUTES


JURY TRIAL – DAY 10

8:47 a.m.      Court in session.

Appearances of counsel. Jury not present.

Parties and Court make a modification with respect to the jury verdict form.

Parties and Court remove loss of income and hospital expenses in the actual damages instruction.

ORDERED: Defendants’ request to create a demonstrative during closing argument is
         DENIED.

ORDERED: Defendants’ request to recall Mr. Lindell to the stand is DENIED.
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8:55 a.m.          Court in recess.
9:10 a.m.          Court in session.

Jury present.

Defendants rest.

Plaintiff has no rebuttal evidence.

Plaintiff rests.

Evidence is closed.

ORDERED: Lunches shall be provided to jurors during their deliberations starting on
         June 13, 2025.

9:13 a.m.          Jury is excused.

9:14 a.m.          Argument by Mr. Kachouroff regarding Defendants’ Oral Motion Pursuant to
                   Fed. R. Civ. P. 50(a) for Judgment as a Matter of Law.

9:18 a.m.          Response by Mr. Kloewer.

9:43 a.m.          Reply by Mr. Kachouroff.

9:52 a.m.          Court in recess.
10:29 a.m.         Court in session.

Jury not present.

Court’s findings and conclusions.

ORDERED: Defendants’ Oral Motion Pursuant to Fed. R. Civ. P. 50(a) for Judgment as a
         Matter of Law is DENIED.

10:56 a.m.         Jury present.

10:56 a.m.         Court reads Final Jury Instructions.

11:52 a.m.         Plaintiff’s closing argument by Mr. Cain.

12:36 p.m.         Defendants’ closing argument by Ms. DeMaster.
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1:36 p.m.      Plaintiff’s rebuttal closing argument by Mr. Cain.

Court further instructs the jury.

1:54 p.m.      Bailiff sworn.

1:55 p.m.      Jury excused to begin deliberations.

1:57 p.m.      Court in recess.

5:00 p.m.      Jury excused until June 16, 2025 at 7:00 a.m. to resume deliberations.

Trial continued.
Total time in court:   4:18
